 8:17-cr-00103-JMG-SMB                 Doc # 41   Filed: 05/22/17     Page 1 of 1 - Page ID # 87



                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                         Plaintiffs,                                     8:17CR103

       vs.
                                                                           ORDER
GABRIELLA VALDEZ,

                         Defendant.


        This matter is before the court on defendant's unopposed MOTION FOR EXTENSION OF
TIME TO FILE PRETRIAL MOTIONS [40]. For good cause shown, I find that the motion should
be granted. The defendant will be given an approximate 45-day extension. Pretrial Motions shall be
filed by July 7, 2017.


        IT IS ORDERED:
        1.      Defendant's unopposed MOTION FOR EXTENSION OF TIME TO FILE
PRETRIAL MOTIONS [40] is granted. Pretrial motions shall be filed on or before July 7, 2017.
        2.      Defendant is ordered to file the affidavit required by Rule 16(c), Fed. R. Cr. P. and
NE. Crim. R. 12.1 forthwith.
        3.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between today’s date and July 7, 2017, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act for the
reason defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


        Dated this 22nd day of May, 2017.

                                                       BY THE COURT:

                                                       s/ Susan M. Bazis
                                                       United States Magistrate Judge
